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 1   BENJAMIN B. WAGNER
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 4   Telephone: (916) 554-2700

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 6

 7              IN THE UNITED STATES DISTRICT COURT FOR THE

 8                       EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,      )         No. CR 2:10-cr-469 JAM
                                    )
11                  Plaintiff,      )         MOTION AND ORDER TO DISMISS
                                    )         INDICTMENT AS TO DEFENDANT LUIS
12        v.                        )         HERNANDEZ
                                    )
13   LUIS HERNANDEZ, et al.         )
                                    )
14                  Defendant.      )
     _______________________________)
15

16        The United States Attorney's Office, pursuant to Rule 48(a)

17   of the Federal Rules of Criminal Procedure, hereby moves to

18   dismiss the indictment against LUIS HERNANDEZ without prejudice in

19   the interest of justice.     I have spoken with Gilbert A. Roque,

20   counsel for Mr. Hernandez, and he stated that he has no objection

21   to this request.

22

23   DATED: March 27, 2012                    Respectfully submitted,

24                                            BENJAMIN B. WAGNER
                                              United States Attorney
25

26                                     By:     /s/ Michael D. Anderson
                                              MICHAEL D. ANDERSON
27                                            Assistant U.S. Attorney

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 1

 2
                                       ORDER
 3

 4
          IT IS HEREBY ORDERED that the indictment in the above
 5
     captioned case be dismissed against defendant LUIS HERNANDEZ
 6
     without prejudice in the interest of justice.
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 8
     DATED: March 28, 2012
 9                                     /s/ John A. Mendez
                                       HON. JOHN A. MENDEZ
10                                     U. S. District Court Judge

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